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                                   3                                  UNITED STATES DISTRICT COURT

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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                   6    AMERICAN FEDERATION OF
                                        GOVERNMENT EMPLOYEES, AFL-CIO,
                                   7    et al.,                                             No. C 25-01780 WHA

                                   8                   Plaintiffs,

                                   9            v.                                          SUPPLEMENT TO THIRD REQUEST
                                                                                            FOR INFORMATION
                                  10    UNITED STATES OFFICE OF
                                        PERSONNEL MANAGEMENT, et al.,
                                  11
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14         On March 17, the undersigned requested that defendants “state the extent to which any

                                  15    rehired probationary employees are being placed on administrative leave” (Dkt. No. 138).

                                  16    Defendants’ response reproduces compliance reports produced in a separate action, State of

                                  17    Maryland v. United States Department of Agriculture, without more (Dkt. No. 139).

                                  18         The Department of Defense, an enjoined relief defendant in this action, is not among the

                                  19    “restrained defendants” in Maryland. Defendants’ reproduction of the Maryland declarations

                                  20    is therefore silent as to DOD. Defendants shall redress that deficiency and provide a

                                  21    declaration from DOD by MARCH 19, 2025, AT NOON. If plaintiffs wish to file a response,

                                  22    they must do so by MARCH 20, 2025, AT NOON.

                                  23

                                  24         IT IS SO ORDERED.

                                  25

                                  26    Dated: March 18, 2025.

                                  27
                                                                                              WILLIAM ALSUP
                                  28                                                          UNITED STATES DISTRICT JUDGE
